Case 5:19-cv-02311-JWH-ADS Document 77 Filed 11/19/21 Page 1 of 1 Page ID #:503




                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES – GENERAL

 Case No.: 5:19-02311 JWH (ADS)                                  Date: November 19, 2021
 Title: Falls v. Vernal, et al.


 Present: The Honorable Autumn D. Spaeth, United States Magistrate Judge


                Kristee Hopkins                                None Reported
                 Deputy Clerk                             Court Reporter / Recorder

     Attorney(s) Present for Plaintiff(s):          Attorney(s) Present for Defendant(s):
               None Present                                     None Present

 Proceedings:          (IN CHAMBERS) ORDER TO SHOW CAUSE WHY CASE
                       SHOULD NOT BE DISMISSED FOR FAILURE TO
                       PROSECUTE AND OBEY COURT ORDERS

       On August 31, 2021, the Court granted a Motion for Extension of Time to File
 Opposition filed by Plaintiff Aaron A. Falls. (Dkt. No. 75.) Plaintiff’s Opposition was
 due November 1, 2021. (Id.) As of the date of this order, Plaintiff has not filed an
 Opposition.

         Plaintiff is hereby ordered to show cause why this case should not be dismissed
 for failure to prosecute and obey court orders. Plaintiff must file a written response by
 no later than December 10, 2021. Plaintiff may respond by (a) filing an Opposition or
 (b) explaining why he has not yet filed an Opposition.

        Plaintiff is expressly warned that failure to timely file a response to this order
 may result in a recommendation to the District Judge that this action be dismissed
 without prejudice for failure to prosecute and obey Court orders pursuant to Federal
 Rule of Civil Procedure 41(b).

        IT IS SO ORDERED.

                                                                        Initials of Clerk kh




 CV-90 (03/15)—ACE                   Civil Minutes – General                          Page 1 of 1
